                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                             DOCKET NO. 5:14CR57-RLV

UNITED STATES OF AMERICA,                         )
                                                  )
                                                  )
               v.                                 )            PRELIMINARY
                                                  )         ORDER OF FORFEITURE
KA LEE,                                           )             BY CONSENT
                                                  )
                       Defendant.                 )
                                                  )


       As a result of the guilty plea of the defendant to the violations stated in the First

Superseding Bill of Indictment, for which the United States sought forfeiture pursuant to 21

U.S.C. § 853, 18 U.S.C. § 924(d), and 28 U.S.C. § 2461(c), the defendant shall forfeit to the

United States all property constituting or derived from any proceeds the defendant obtained,

directly or indirectly, as a result of such violations; and/or all property involved in, used, or

intended to be used in any manner or part to commit or facilitate the commission of the

violations.

       The Court has determined, based on the First Superseding Bill of Indictment and the

guilty plea of the defendant, that the below-described property is subject to forfeiture pursuant to

21 U.S.C. § 853, 18 U.S.C. § 924(d), and 28 U.S.C. § 2461(c), and that the government has

established the requisite nexus between such property and such violations and that the defendant

had an interest in the property.   The defendant has stated his Consent to this Order.

       It is therefore ORDERED:

       1.      The following property is hereby forfeited to the United States for disposition



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according to law, subject to the provisions of 21 U.S.C. § 853(n):

        A .308 caliber bolt action rifle bearing serial number 162607, with a Tasco scope,
        seized from Ka Lee during the execution of a search warrant on Ka Lee’s residence
        during the course of the investigation.

        2.      The Attorney General (or a designee) is authorized to seize the forfeited property

subject to forfeiture; to conduct any discovery proper in identifying, locating, or disposing of the

property; and to commence proceedings that comply with any statutes governing third party

rights. Fed. R. Crim. P. 32.2(b)(3).

        3.      Pursuant to 21 U.S.C. § 853(n)(1) and Fed. R. Crim. P. 32.2(b)(6), the United

States shall post on an official government internet site (www.forfeiture.gov), for at least 30

consecutive days, notice of this order and of its intent to dispose of the property in such a manner

as the United States may direct. The United States may also, to the extent practicable, provide

direct written notice of this forfeiture.

        4.      Any person, other than the defendant, having or claiming a legal interest in any of

the above-listed forfeited property may, within thirty days of the final publication of notice or of

receipt of actual notice, whichever is earlier, petition the Court for a hearing without a jury to

adjudicate the validity of the petitioner’s alleged interest in the property, and for an amendment

of the order of forfeiture pursuant to 21 U.S.C. § 853(n). The petition shall be signed by the

petitioner under penalty of perjury and shall set forth the nature and extent of the petitioner’s

right, title or interest in each of the forfeited properties; the time and circumstances of the

petitioner’s acquisition of the right, title, or interest in the property; and any additional facts

supporting the petitioner’s claim and the relief sought. 21 U.S.C. § 853(n)(2) and (3).

        5.      After the disposition of any motion filed under Fed. R. Crim P. 32.2(c)(1)(A) and

before a hearing on the petition, discovery may be conducted in accordance with the Federal

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Rules of Civil Procedure upon a showing that such discovery is necessary or desirable to resolve

factual issues.

        6.        Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, upon

entry of this Preliminary Order of Forfeiture, the United States Attorney's Office is authorized to

conduct any discovery needed to identify, locate or dispose of the property, including

depositions, interrogatories, requests for production of documents and to issue subpoenas,

pursuant to Rule 45 of the Federal Rules of Civil Procedure.

        7.        Upon adjudication of third-party interests, if any, this Court will enter a Final

Order of Forfeiture pursuant to 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32(c)(2).

        8.        If no third party files a timely claim, this Preliminary Order of Forfeiture shall

become the Final Order of Forfeiture and shall be made part of the sentence and included in the

judgment, as provided by Fed. R. Crim. P. 32.2(b)(4) and 32.2(c)(2).

        9.        The Court shall retain jurisdiction to enforce this Order and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).




                                           Signed: February 24, 2015




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